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       EXHIBIT B
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          US9092428 Claim chart
                   vs
                CarParts




                                                                            1
          U.S. Patent No. US9092428
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Inventor: Guangsheng Zhang

Current Assignee: LINFO IP LLC

Worldwide applications

2014 US

Application US14/225,422 events

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Status Active

2034-10-31 Adjusted expiration
                                                                               2
                    Related Products
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• The following chart is based on CarParts's web site.




                   https://www.carparts.com/fog-light?&itemperpage=45




                                                                                                 3
                    US 9092428: Claims 1
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1. A computer-assisted method for discovering information in a text content and extracting and
presenting the information, comprising:
 obtaining, by a computer system, a text content comprising one or more words or phrases or
sentences, each being a term or an instance of a term;
selecting a first semantic attribute and a second semantic attribute for users to select from, wherein
the first semantic attribute or the second semantic attribute includes an attribute type or attribute
value;
wherein the first semantic attribute is associated with a first name or description, and the second
semantic attribute is associated with a second name or description;
identifying a words or phrases in the text content associated with the first semantic attribute or the
second semantic attribute;
displaying an actionable user interface object, wherein the actionable user interface object is
associated with a label representing the first name or description or the second name or description;
allowing the user to select the first name or description or the second name or description as a user-
specified or user-desired attribute;
and performing, by the computer system, an action on the word or phrase associated with the user-
specified or user-desired semantic attribute, wherein the action includes at least extracting,
displaying, storing, showing or hiding, or highlighting or un-highlighting the word or phrase.




                                                                                                      4
                      US9092428: Claim 1
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1. A computer-assisted method for                  For Example: On information and belief,
discovering information in a text                  CarParts’s web site has an interactive product
content and extracting and presenting              review section that allows customers to filter
the information, comprising:                       reviews. The reviews are stored on a computer
                                                   system and the search function allows the user
                                                   to input text which the computer discovers
                                                   from all the saved reviews and then presents
                                                   the information to the customer.




                  https://www.carparts.com/fog-light/replacement/arbt107503
                                                                                                       5
                        US9092428: Claim 1
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obtaining, by a computer system, a text                 For Example: The customer inputs “Great
content comprising one or more words                    fit” in the review search section. CarParts’s
or phrases or sentences, each being a                   computer system will receive these terms
term or an instance of a term;                          “Great fit”.




              https://www.carparts.com/fog-light/replacement/arbt107503                             6
                         US9092428: Claim 1
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selecting a first semantic attribute and              For Example: the customer can select a first
a second semantic attribute for users                 semantic attribute 5* and a second semantic
to select from, wherein the first                     attribute 1*. The first semantic attribute has
semantic attribute or the second                      an attribute type (5 stars) or an attribute
semantic attribute includes an                        value (93).
attribute type or attribute value;




               https://www.carparts.com/fog-light/replacement/arbt107503                               7
                        US9092428: Claim 1
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wherein the first semantic attribute is                               For Example: the first semantic
associated with a first name or description,                          attribute (5 stars) is associated
and the second semantic attribute is associated                       with a 5-star rated description
with a second name or description;                                    “Great fit.”




              https://www.carparts.com/fog-light/replacement/arbt107503                                   8
                        US9092428: Claim 1
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wherein the first semantic attribute is associated                         For Example: the second
with a first name or description, and the second                           semantic attribute (1*) is
semantic attribute is associated with a second                             associated with a 1-star rated
name or description;                                                       description “broken…”




                                                                                                            9
               https://www.carparts.com/fog-light/replacement/arbt107503
                        US9092428: Claim 1
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identifying a words or phrases in the text                       For Example: “Great fit” is a word/s
content associated with the first semantic                       that can be identified within the first
attribute or the second semantic attribute;                      semantic attribute.




              https://www.carparts.com/fog-light/replacement/arbt107503                                10
                        US9092428: Claim 1
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displaying an actionable user interface                        For Example: an actionable user
object, wherein the actionable user interface                  interface object is displayed and is
object is associated with a label representing                 associated with a label (Great fit)
the first name or description or the second                    representing the first description (5*
name or description;                                           description, “Great fit”).




                https://www.carparts.com/fog-light/replacement/arbt107503                               11
                      US9092428: Claim 1
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allowing the user to select the first name or                         For Example: the user can select
description or the second name or description as a                    5-star (first description) as a user
user-specified or user-desired attribute;                             specified attribute.




                    https://www.carparts.com/fog-light/replacement/arbt107503                           12
                       US9092428: Claim 1
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and performing, by the computer system, an action on         For Example: when the
the word or phrase associated with the user-specified        customer types “Great fit” in
or user-desired semantic attribute, wherein the action       the search window, the
includes at least extracting, displaying, storing, showing   computer displays all of the
or hiding, or highlighting or un-highlighting the word or    reviews with “Great fit ” in the
phrase.                                                      descriptions of the 5* reviews.




                                                                         https://www.carparts
                                                                         .com/fog-
                                                                         light/replacement/ar
                                                                         bt107503




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